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EXHIBIT I

Report of Robert Gill

[with a copy of his current Vita attached,
and with copies of some items

he may use as exhibits attached].

PLAINTIFFS’ EXPERTDESIGNATION | PAGE 11 of 11
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LAW OFFICES OF

BOB GILL GILL « BRISSETTE eoeeeoe

Boarn CERTIFIED - CRIMINAL LAW (Not A PARTNERSHIP) PARALEGAL
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NATIONAL BOARD OF TRIAL ADVOCACY

RE: Civil Action No. 3:20-CV-02826-L; Jimerson, et al v. Lt. Lewis, et al

8 March 2021

Mr. Ernest (“Skip”) Reynold III
314 Main Street, Ste 202
Fort Worth, Texas 76102

RE: Jimerson-Parks case : CIVIL ACTION NO. 3:20-CV-02826-L

Mr. Reynolds:

I am sending this letter to you pertaining to the above captioned case in which I know
you represent the Jimerson-Parks plaintiffs. This is a letter which I know will be used for
legal purposes. This letter contains factual background about my training and qualifications,
about materials I have reviewed, and what I have done to analyze this matter up to this time.
This letter also contains certain opinions that I have formulated which are legal opinions
based upon my factual knowledge, and my legal knowledge and expertise.

All of my opinions are based upon “reasonable legal probability.” The opinions are
based upon information currently available to me, and are based upon my professional
experience and expertise, and are based upon my knowledge of law which is relevant or
pertinent to the opinions.

I have been retained to serve in this case as an expert. I am being paid by the hour at
a rate of $250.00 per hour, and do not own any part of any claim asserted in this case, and
have no contingent interest in the outcome of this case.

During the past four years I have testified zero times at trial.

During the past four years I have testified zero times as a deposition witness.

www.GillBrissette.com
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My qualifications are summarized on my VITA (3 pages) which is attached hereto as
EXHIBIT H (and made a part hereof). I will not now re-state everything in the VITA. Iam
presently in private law practice, and have been since January, 2015. I practice law with
another attorney, and we maintain our office in Fort Worth, Texas. | am a Board Certified
specialist in criminal law. I am an attorney licensed for many years (since 1981) continuously
(and presently) to practice law in Texas. I am admitted to practice in some federal courts,
including the federal courts in the Northern District of Texas. My VITA lists many of my
speaking engagements, and lists several publications | have authored. I was for many years
(1981-1992 and 2008-2014) an assistant district attorney in Tarrant County, Texas. I left that
position (later returning to it after retiring from the bench, and some years later retiring from
that position to enter private law practice). I served over fourteen years as an elected Texas
state district court judge in a court dedicated to handling criminal cases in Fort Worth,
Tarrant County, Texas. During my time as a judge of the 213" Criminal District Court (from
January, 1993 to May, 2007), I also served as Local Administrative Judge of Tarrant County
between 1997-1998 and 2003-4. I also served as Presiding Judge over Tarrant County
Criminal Courts in 1997. I have direct experience with all aspects of criminal law and
procedure in Texas from the perspective of attorney (in district attorney office, and more
recently in private practice) and judge (during my time on the bench). In this connection, |
also have knowledge and expertise regarding rights and liberties protected and guaranteed
to citizens under provisions of the United States Constitution (including the Fourth and
Fourteenth Amendments to that constitution) and corresponding limitations on the powers
and authority of law enforcement officials (including police officers and detectives and
investigators and attorneys and judges and police departments and prosecutor’s offices such
as district attorney’s offices, and various law enforcement offices and agencies and units of
state and local government). During my time in the Tarrant County District Attorney’s
Office, in addition to directly handling and trying many cases, I also had training and
supervisory responsibilities and supervised the work activities of other attorneys and their
staff assistants, including investigators. I know that criminal investigations should be
conducted with appropriate care to assure that criminal charges are not brought improperly
against citizens, and to insure that search and seizure warrants are not either sought or
executed improperly. I am familiar with all aspects of the grand jury process. I know the
processes for obtaining warrants to search, warrants to seize, and warrants to arrest. I know
that warrants must be sufficiently detailed and focused, and that a warrant for one thing is
not a blanket permit to do other things. I am familiar with arrest and detention procedures,
and with procedures for determining whether probable cause exists in connection with a
particular situation, and with procedures for pressing and bringing criminal charges against
persons. I am familiar with the procedures for investigating to determine whether crimes
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have occurred and whether to press charges against any particular person. Iam familiar with
the Texas Penal Code, and know (among other things) that it defines, as separate crimes and
offenses, criminal trespass, and assault, and aggravated assault, and official oppression. | am
also familiar with the Texas Code of Criminal Procedure and know the rules for obtaining
search warrants and arrest warrants. I know the law and rules relating serving and/or
executing such warrants. I have some familiarity with what S.W.A.T. TEAMS do, and how
federal-state law enforcement personnel sometimes work together on task forces, and] know
that in such situations the rights of people which are protected by the Constitution and other
laws are still protected, and those protections may not be ignored, and are not somehow
suspended, and the protected rights of the people must be fully and properly protected and
respected by all officers and personnel who are serving as members of any S.W.A.T. TEAM
or of any such task force.

I have reviewed, and will attach to this letter as exhibit items, all of the following :

EXHIBIT A: Aerial Map of Jimerson Home v. Warrant Location [they are
not “next door” |

EXHIBIT B: 11 pages from 11 separate defense pleadings filed in this case
[by attorney Montgomery] showing admissions of Lt. Lewis and the ten other
Waxahachie P.D. members who are defendants [Behringer, Dunn, Fuller,
Glidewell, Gonzales. Koch, James Lewis, Sanders, Taylor, and Young] that
they improperly entered plaintiffs’ home without a warrant

EXHIBIT C: Probable Cause Affidavit | filed in a Texas State Court, not in
a federal court; does not mention or refer to any plaintiff and does not mention
or refer to plaintiffs’ home]

EXHIBIT D: the two (2) Search Warrants [issued out of a Texas State Court,
by a Texas State Judge, in Dallas; they do not mention or refer to any plaintiff
or mention or refer to any person, and do not mention or refer to plaintiffs’
home or its address in any manner; but they do mention two (2) other locations
specifically and by their specific addresses]

EXHIBIT E: Filed returns on two (2) Search Warrants [filed in a Texas State
Court, in Dallas, not in a federal court; they do not mention or refer to any
plaintiff or mention or refer to any person, and do not mention or refer to
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plaintiffs’ home or its address in any manner; but they do mention two (2)
other locations specifically and by their specific addresses]

EXHIBIT F : Home Repair Records/Invoices/some photos [all pertaining to
plaintiffs” home|

EXHIBIT G : Ambulance Records

I have also reviewed the current complaint pleading [DOC. 16 ~ the Amended Complaint]:
and I have obtained some general background information from lead counsel for the
plaintiffs. I am aware that plaintiffs have served written discovery upon all defendants, and
I know that the defendants have been resisting discovery, and that thus far they have not filed
and served answers to the written discovery, and it has not been possible to take deposition
testimony. I am aware that plaintiffs are pressing for discovery, and I understand that when,
if, and as they may obtain discovery from the defendants [and their attorney, Mr.
Montgomery] they will be able to provide further information to me so that I may review it.
My understanding of the facts of this case are based upon the information currently available
to me.

I may use any of the above-referenced exhibit items as exhibits in connection with
any testimony I may give in this case. I may also use the Texas Penal Code, the Texas Code
of Criminal Procedure (and any pertinent parts thereof) and the United States Constitution
(especially; but not limited to, its Fourth and Fifth and Fourteenth Amendments) as exhibit
items.

Based upon my review of information, I believe that I know and understand many
facts about this case.

The defendants have admitted that on the occasion in question they were all
experienced law enforcement officers; so they should have known about the laws that protect
the rights of citizens like the plaintiffs, including the Fourth Amendment prohibition
regarding warrantless searches and seizures, and the various Texas laws that prohibit assault,
and aggravated assault, and criminal trespass, and official oppression; and the defendants
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must have known that these were all well established laws by the time of the occasion in
question, and that these laws limited what any law enforcement officer could do in order to
safeguard the rights and liberties of members of the public, including the right to be safe and
secure in the sanctity of their homes.

I know that in this case there was no warrant that gave any defendant any right or
authority or power to disturb the peace of the plaintiff's home, or to invade it, or to ram down
its front door, or to damage it; and there was no warrant that made any reference to that
home, or to the address of that home, or to the address of any home “next door” to it. I also
know that any warrant the defendants may have had was a Texas State warrant, and was not
a federal court warrant, and was requested by a Texas police officer [a member of the Dallas

PD].

I know that in this case there was no warrant that gave any defendant any right or
authority or power to disturb the peace of the plaintiffs’ home, or to invade it, or to ram down
its front door, or to damage it, or to search it [or search any part of it] on the occasion in
question, or at any time ever; and there was no warrant that made any reference to that home,
or to the address of that home, or to the address of any home “next door” to it.

I also know that any warrant the defendants may have had was a Texas State warrant,
issued by a Texas State judge in Dallas, and was not a federal court warrant, and was
requested by a Texas police officer [a member of the Dallas P.D.] who made the request to
a Texas State judge, and was issued in Dallas County, Texas, by a Texas State Judge. I know
that the probable cause affidavit used by that officer to obtain the warrants [there were two
of them, and neither of them mentioned the plaintiff's home or its address in any way] that
the defendants were supposed to be serving/executing on the occasion in question made no
mention at all of the address of the plaintiffs home or of the names of the plaintiffs or of the
plaintiffs or of the names of any persons.

I know that in this case there was no warrant that gave any defendant any right or
authority or power to disturb the peace of the plaintiffs, or to search any plaintiff, or to seize
any plaintiff, or to restrain any plaintiff in any way, or to detain any plaintiff in any way, on
the occasion in question, or at any time ever; and there was no warrant that made any
reference to any of the plaintiffs, or mentioned the name of any plaintiff, or mentioned the
name of any person.
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I also know that on the occasion in question there was no probable cause to disturb
the plaintiffs, or to attack their home, or to detain any plaintiff, or to search any plaintiff, or
to restrain any plaintiff, or to enter the home of the plaintiffs, or to search the home [or any
part of the home] of the plaintiffs.

The case arises from a S.W.A.T. TEAM activity which, without any warrant, and
without any probable cause, invaded the home of the plaintiffs. The occurrence date was 27
March 2019. The location invaded was 593 West 8" Street, Lancaster, Texas (75146). A
nearby house where there apparently had been problems of a criminal nature is located at
573 West 8" Street, Lancaster, Texas. That nearby house is not “next door” to the location
of the plaintiffs’ home, but both homes are on the same street. Both are single family
dwellings, and each is on its own lot, and has its own address. PLEASE SEE EXHIBIT A
[attached hereto ~ aerial map]. The plaintiffs had no connection with the other home, and
the warrant that the defendants had referred specifically to the other home, by its address, and
the warrant made no reference to the plaintiffs’ home.

The plaintiffs were at [and inside of] their home, which they rented, in Lancaster,
Texas, on the evening of 27 March 2019, when their home [as described more fully in the
filed complaint pleading | was attacked and invaded by aS.W.A.T. TEAM, which made a “no
knock” entry in the dark of night. The invaders destroyed and/or damaged some personal
property of Plaintiffs. The activities of the S.W.A.T. TEAM were very loud and scary, and
once they entered the defendants did not quickly leave. The defendants were armed with
dangerous weapons and the plaintiffs were frightened. The defendants have each filed a
pleading in which they each admit that they entered the home of the plaintiffs. PLEASE
SEE EXHIBIT B [attached hereto~a copy of the set of the pertinent pages from those
pleadings]. While inside the plaintiffs’ home the defendants took control in a manner hostile
to plaintiffs, and which in effect made plaintiffs unable to move freely just as though they
were prisoners. At least one plaintiffs hands were tied up using “flex cuffs” (zip ties)
instead of handcuffs, and at least one bedroom was searched by the defendants, and Ms.
Jimerson was forced to lie on the floor in the doorway between the bathroom and the hallway
without any clothing on from her waist down for an extended period of time, and several of
the plaintiffs sustained some sorts of injuries and the defendants treated and handled the
plaintiffs roughly and at least two of the plaintiffs had to be taken out of the home by
ambulance and delivered to a hospital emergency room because of all of this activity carried
on by the defendants.
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The warrant documentation clearly showed the addresses made the subject of the
warrants to be addresses other than Plaintiffs’. Also, neither warrant mentioned any person.
PLEASE SEE EXHIBIT C [attached hereto~ a copy of the probable cause affidavit],
and EXHIBIT D [attached hereto~ copies of the two (2) search warrants obtained by
use of the probable cause affidavit], and EXHIBIT E [attached hereto~copies of the two
(2) returns filed in connection with service/execution of those warrants]. These records
were located in Dallas County, among the state court records maintained by and for the state
courts. Both warrants are search warrants. Both warrants issued out of a Texas State Court
in Dallas County, ‘Texas, and were signed by a Texas State judge. There does not appear to
be reason to believe there are any such warrant or return document filed with, or issued from,
any federal court in connection with any matter relating to the problems experienced by the
Jimerson-Parks plaintiffs, which are the problems addressed in their present civil rights
lawsuit.

The plaintiffs had done nothing wrong.

The plaintiffs were the only persons in their home when the S.W.A.T. TEAM invaded
it. They endured a very frightening ordeal, and sustained some injury, and some of their
property was damaged or destroyed, and the house was damaged.

There was no probable cause to invade the home of the plaintiffs, or to suspect that
they had committed any crime. No arrests were made.

The S.W.A.T. TEAM had no warrant to search the home of the plaintiffs, or to search
or seize any of the plaintiffs, and no application was ever made for any such warrant.

The invading officers [the defendants] were not federal employees. They were
members of the Waxahachie Police Department, which is in Waxahachie, Ellis County,
Texas.

The warrant(s) that the defendants were supposed to be serving/executing were for
other totally separate locations/addresses. Those warrants were not federal, and did not issue
from any federal court, but instead were issued in Dallas County, Texas, by a Texas State
judge, based upon a probable cause affidavit signed and sworn to by an officer [Hight] who
apparently was a member of the Dallas P.D. The probable cause affidavit made no mention
directly or indirectly of any of the plaintiffs, or of their home [or its address....]. In fact, the
warrants [PLEASE see EXHIBIT D~attached hereto] issued made no mention of the
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plaintiffs, or of their home [or its address]. No warrant made mention of any particular
person [or of any person at all], but the two warrants that were signed by the Texas State
judge did each specifically identify an address [neither of which was the address of the home
of the plaintiffs], and one was a “no knock” warrant. PLEASE SEE EXHIBIT C [attached
hereto~ a copy of the probable cause affidavit], and EXHIBIT D [attached hereto~
copies of the two (2) search warrants obtained by use of the probable cause affidavit],
and EXHIBIT E [attached hereto~copies of the two (2) returns filed in connection with
service/execution of those warrants].

The Jimerson-Parks plaintiffs are a family unit, comprised of two (2) adults [both of
whom are disabled persons] and three young children [two of whom, the little boys, were
pre-schoolers on 27 March 2019].

When the S.W.A.T. TEAM entered the Jimerson-Parks home they made a “no knock”
entry, and they had no permission to enter, and never asked for permission to either enter or
to stay in the home. They rammed in the door, and damaged it, and did other things that
caused damage to the home. Afterwards the home was repaired, and it appears that the
repairs were paid for by someone on behalf of the invading S.W.A.T. TEAM. Though the
home was located in Lancaster, in Dallas County, Texas, the officers who entered the home
were from the Waxahachie P.D. Waxahachie is in Ellis County, and basically is to the South
of Dallas County. PLEASE SEE EXHIBIT F [attached hereto~copies of some photos
and documents pertaining to damage to the home of the plaintiffs, and to repairs done,
and costs of repairs, and payment.

Information indicates that the defendants were in the home, and were searching parts
of it, and were ordering the plaintiffs about and otherwise exercising domination over them
in a hostile and threatening manner while armed with deadly weapons and making much
noise and yelling, for at least fifteen or more minutes before anybody called an ambulance.
Ambulance records PLEASE SEE EXHIBIT G [attached hereto~a copy of Ambulance
Records] show that from the time a call was made for an ambulance, until the time it had
arrived and collected up two of the plaintiffs, and departed from their home to take them to
the Emergency Room at a hospital, the time elapsing was about a half hour. Even when
Plaintiff Ms. Jimerson was on a gurney and was taken from her home to the ambulance
defendants were still inside if it, and others were outside boarding up the broken windows.

At the plaintiffs’ home, before she was taken away to the hospital, at least one
defendant [Lt. Lewis] told Ms. Jimerson that the defendants should not have come into her
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home and admitted that doing so was wrong.

When the defendants entered the home of plaintiffs, the defendants were a fearsome
group, and were armed with scary looking weapons that could inflict great harm or cause
death. The defendants were like a loud group of hostile folks, and ordered the plaintiffs
about, and hurt the plaintiffs. It is my understanding that the two little boys got broken glass
in their eyes. Ms. Jimerson was just getting out of her bath, and had no clothes on from the
waist down; but she was ordered and forced to lay on the floor in or near the doorway from
the bathroom to the hall, with no clothing on from the waist down for a long time [probably
at least 15 or more minutes]. Because of the way she was mistreated by the defendants Ms.
Jimerson sustained bodily injury and had to be taken from her house by gurney to an
ambulance, and then taken by ambulance to a hospital emergency Room. This is reported in
the ambulance record. PLEASE SEE EXHIBIT G [attached hereto~copies of the
ambulance records, which show injury to Ms. Jimerson as “Pain - Multiple Injuries ...
Assault - Assault with bodily force ...”] . Based upon information now available, it appears
that the ambulance was not called until at least 15 or more minutes after the defendants first
entered into the plaintiffs’ home.

Ms. Jimerson recalls that while she was being forced to lay on the floor halfnaked the
time that passed was at least 15 minutes. She also reports that during this time her young
daughter, plaintiff Jasamea Jimerson, was in her own room where Ms. Jimerson learned that
Jasamea had been forced to the floor and her hands had been bound, apparently with “flex
cuffs” (zip ties), and her room was searched by defendants. As Ms. Jimerson recalls, only
when defendants found nothing and stopped searching Jasamea’s room, did they let Jasamea
get up and come to where Ms. Jimerson was, and only then did the defendants permit Ms.
Jimerson to get clothing and get completely dressed. It was after this that the ambulance
arrived.

The ambulance records [EXHIBIT G] show ambulance was called for at 11:28
p.m., dispatched at 11:29 p.m. , on scene at 11:36 p.m., some vitals were taken at 11:49
p.m., and the ambulance departed at 11:50 p.m... |.

The injuries to minor plaintiff Jasamea Jimerson, as reported in the ambulance
records [EXHIBIT G] included “Pain - Knee Pain ... Struck by Object - Contact with
blunt object...”

After the defendants broke into the Jimerson-Parks family home, they ordered the
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plaintiffs around and intimidated and frightened them. and the plaintiffs were basically their
prisoners; and plaintiffs did not resist or do anything to antagonize the defendants. Plaintiffs
were not armed. Plaintiffs were not behaving improperly or illegally. While in the home the
defendants searched the room of minor plaintiff Jasamea. Defendants damaged and broke
some of plaintiffs’ personal property. Ms. Jimerson still recall that this was frightening and
that she and members of her family could have been killed.

I am of the opinion that under there are various limitations upon the conduct of police
officers, and detectives, and investigators, and prosecutors, and district attorney offices, and
police departments, and cities and municipalities, and units of government at the state and
local level, and at the federal level, and upon various law enforcement offices and agencies
which are imposed by virtue of the various provisions of the Constitution of the United States
of America, and its amendments (including Fourth and Fifth and Fourteenth Amendments)
in order to protect the rights and liberties of citizens, and that these various limitations
include:

regarding police work and all law enforcement, police officers and detectives, and all
law enforcement officials and investigators, must obey the law, cannot violate the law,
must respect the legal and constitutionally guaranteed rights of all citizens, and cannot
violate the legal rights of any citizen. It is wrong to violate Fourth Amendment
Constitutional rights regarding search and regarding seizure, it is wrong to abuse
citizens, it is wrong to harass citizens, it is wrong to invade and/or search the home
of citizens without any warrant and without any probable cause, and also wrong to
detain or search any person without a warrant and without probable cause.

In this case it is my opinion, on the basis of reasonable legal probability, that the
defendants violated the rights of the plaintiffs when, without warrant or probable cause, they
invaded the home of the plaintiffs. This was unreasonable, and no reasonable law
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enforcement office would have entered the plaintiffs home in the way that the defendants did.
This caused real harm to the plaintiffs, as described hereinabove.

Further, in this case it is my opinion, on the basis of reasonable legal probability, that
after making improper entry into the home of plaintiffs, the defendants violated the rights of
the plaintiffs when, without warrant of probable cause, they harassed and intimidated and
dominated, and in essence held under what amounted to arrest, the plaintiffs, and searched
parts of their home which included the bedroom of minor plaintiff Jasamea Jimerson, and
damaged and broke some of the plaintiffs’ personal property, and handled at least some of
the plaintiffs roughly causing two of them to need to be transported by ambulance to a nearby
hospital emergency Room, and force Ms. Karen Jimerson to lay on the floor without any
clothing on from the waist down for an extended period of time, and all the while the
defendants exercised domination over the plaintiffs entire home roaming around uninvited
as they pleased and armed with dangerous and lethal weapons. This was unreasonable, and
no reasonable law enforcement officer would have entered the plaintiffs home in the way that
the defendants did. This caused real harm to the plaintiffs, as described hereinabove.

Separately, in this case. and on the basis of reasonable legal probability, it is my
opinion that the defendants violated Texas criminal law by committing against the plaintiffs
the crimes of official oppression, and of criminal trespass, and of assault, and of aggravated
assault; and that this misconduct constitutes under Texas state law negligence per se, and was
a proximate cause of harms and damages to plaintiffs in ways as described hereinabove.

Also, in this case, I am of the opinion, on the basis of reasonable legal probability,
that:

a) on the occasion in question Plaintiffs, each and all, had a legally
recognized and well-known right to be free from unreasonable
search and seizure which was guaranteed by the Fourth
Amendment.

b) on the occasion in question, when the Defendants entered into
the premises of the home of Plaintiffs without a warrant [and
without consent, and without warning] the Defendants violated
the Plaintiffs’ legally recognized and well-known right to be free
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from unreasonable search and seizure which was guaranteed by
the Fourth Amendment.

c) on the occasion in question, when the Defendants, after having
entered into the premises of the home of Plaintiffs without a
warrant [and without consent, and without warning], then in
effect took custody of the Plaintiffs |and of each of them] at gun
point and thereby deprived the Plaintiffs [and each of them| of
their liberty, with no warrant and with no probable cause, the
Defendants violated the Plaintiffs’ legally recognized and well-
known right to be free from unreasonable search and seizure
which was guaranteed by the Fourth Amendment.

d) at the time, and on the occasion in question, when the
Defendants attacked and assaulted the home of the Plaintiffs
[with no warrant] and entered into the home attired as a heavily
armed “S.W.A.T. team”, and took control of the premises of the
home, and of the Plaintiffs, the Defendants had no “probable
cause” upon which to believe [or even suspect] that any of the
Plaintiffs had committed any crime |and in fact the Defendants
were erroneously invading the home of the Plaintiffs by a total
mistake, having come to the wrong address to try to execute [as
a “S.W.A.T. team] a search warrant that had nothing to do with
any Plaintiff, or with any activity related to any Plaintiff.

I may continue to work on this case by reviewing further information when, if, and
as it may become available [if the defense ever provides discovery responses and
information, and stops resisting discovery....]; and in so doing I may, if appropriate,
formulate more opinions.
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Best regards,

fOtyYy

Robert K. “Bob” Gill

Attachments/Exhibits: As indicated above ~

EXHIBIT A: Aerial Map of Jimerson Home v. Warrant Location [they
are not “next door’ |

EXHIBIT B: 11 pages from 11 separate defense pleadings filed in this
case [by attorney Montgomery] showing admissions of Lt. Lewis and the
ten other Waxahachie P.D. members who are defendants |Behringer, Dunn,
Fuller, Glidewell, Gonzales. Koch, James Lewis, Sanders, Taylor, and
Young| that they improperly entered plaintiffs’ home without a warrant

EXHIBIT C : Probable Cause Affidavit [filed in a Texas State Court, not
in a federal court; does not mention or refer to any plaintiff and does not
mention or refer to plaintiffs’ home}

EXHIBIT D : the two (2) Search Warrants [issued out of a Texas State
Court, by a Texas State Judge, in Dallas; they do not mention or refer to any
plaintiff or mention or refer to any person, and do not mention or refer to
plaintiffs’ home or its address in any manner; but they do mention two (2)
other locations specifically and by their specific addresses]
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EXHIBIT E : Filed returns on two (2) Search Warrants [filed in a Texas
State Court, in Dallas, not in a federal court: they do not mention or refer to
any plaintiff or mention or refer to any person, and do not mention or refer
to plaintiffs’ home or its address in any manner; but they do mention two
(2) other locations specifically and by their specific addresses]

EXHIBIT F : Home Repair Records/Invoices/some photos [all pertaining
to plaintiffs’ home|]

EXHIBIT G : Ambulance Records

EXHIBIT H: (VITA OF ROBERT K. “BOB” GILL ~ (totaling 3 pages)
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 16o0f66 PagelD 1569

Report Letter/Jimerson-Parks case
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EXHIBIT “A”

EXHIBIT A : Aerial Map of Jimerson Home v. Warrant Location [they
are not “next door”|
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 17 of66 PagelD 1570

Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 18o0f66 PagelD 1571

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EXHIBIT “B”

EXHIBIT B : 11 pages from 11 separate defense pleadings filed in this
case [by attorney Montgomery] showing admissions of Lt. Lewis and the
ten other Waxahachie P.D. members who are defendants |Behringer, Dunn,
Fuller, Glidewell, Gonzales. Koch, James Lewis, Sanders, ‘Taylor, and
Young] that they improperly entered plaintiffs’ home without a warrant
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 190f66 PagelD 1572
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gross negligence per se, criminal trespass, criminal assault, aggravated assault and official
oppression.”

At the time of the incident, Lt. Lewis was a member of the Waxahachie Police
Department as well as the Waxahachie Police Department’s SWAT Team.’ Lt. Lewis, and the
other Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door) All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
"that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that
Defendants, including Lt. Lewis:

© Made an unannounced, violent, surprise and warrantless no-knock entry;°

* Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT
team);’

e Used a battering ram to break open the front door;® and

e Used flash bang devices to make great noise and emit smells and smoke.”

Further, Plaintiffs’ allege that Lt. Lewis, as well as the other Defendants, was “[a]t all
times relevant to the acts described in this Complaint, ... a fully trained, experienced, law
enforcement officer who knew, or should have known the wellf-Jestablished and well known law
pertaining to the legal rights of cilizens.....and Defendant Lt. Lewis was acting ‘undcr color of

law’,..”!°

4 Id. at pp. 39-40, I] 37.
“Id, atp. 5,9 4-A.
Syd at p. 11, fn. 5,

6 Id. at p. 19, | 12(c).
Vid.

8 Id. at p. 20,  12(d).
° Id. at p. 28, 4 29.

'@ fd. at p. 22, {[ 17-

DEFENDANT MIKE LEWIS’ MOTION TO DISMISS PLAINTIFFS’ STATE TORT CLAIMS — Page 2

Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 200f66 PagelD 1573
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gross negligence per se, criminal trespass, criminal assault, aggravated assault and official

oppression."

At the time of the incident, Behringer was a member of the Waxahachie Police
Department as well as a member of the Waxahachie Police Department’s SWAT Team.‘
Behringer, and the other Defendants, were serving a scarch warrant on the behalf of the DEA but
mistakenly entered Plaintiffs’ home instead of the home next door.> All of Plaintiffs’ allegations
against the Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their
actions that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege
that Defendants, including Behringer:

¢ Made an unannounced, violent, surprise and warrantless no-knock entry;°

© Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT
team);’

© Used a battering ram to break open the front door;® and

¢ Used flash bang devices to make great noise and emit smells and smoke.”

Further, Plaintiffs’ allege that Behringer, as well as the other Defendants, was “[a]t all
times relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known

law pertaining to the legal rights of citizens.....and Defendant [Behringer] was acting ‘under

color of law’...”!?

37d, at pp. 39-40, { 37.
4 Id, at p. 9, 1 4-K.
37d. atp. 11, fn. 5,

® fd. at p. 19, { 12(c).
T Id,

# Jd. at p. 20, | 12(d).
9 Id. at p. 28, 7 29.

0 fd, at p. 23, 4 18.

DEFENDANT DEREK BEHRINGER’S MOTION TO DISMISS PLAINTIFFS’
STATE TORT CLAIMS - Page 2

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Case 3:20-cv-02826-L Document 75 Filed 01/12/21 Page 2of6 PagelD 553

other Defendants as well as asserted pendent state tort claims for assault, negligence per sc, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression.*
At the time of the incident, Dunn was a member of the Waxahachie Police Department as

well as a member of the Waxahachie Police Department’s SWAT Team.*4 Dunn, and the other
Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next doorS All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
that night in attempting to execute the DEA search warrant, Specifically, Plaintiffs allege that
Defendants, including Dunn:

© Made an unannounced, violent, surprise and warrantless no-knock entry;°

® Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’
© Used a battering ram to break open the front door;* and
¢ Used flash bang devices to make greal noise and emit smells and smoke.”
Further, Plaintiffs’ allege that Dunn, as well as the other Defendants, was “[a]t all times

relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known

law pertaining to the legal rights of citizens.....and Defendant [Dunn] was acting ‘under color of

law’...”!°

3 Jd. at pp. 39-40, 37.
4 Id, at p. 6, | 4-B.

5 fd. at p. 11, fn. 5.

6 Id, at p. 19, J 12(c).
"id.

8 fd. at p. 20, I 12(d).

9 Id. at p. 28, 4 29.

7d, at p. 23, J 18.

DEFENDANT BRENT DUNN’S MOTION TO DISMISS PLAINTIFFS’ STATE TORT CLAIMS - Page 2
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 22 of 66 Pa ID 1575
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other Defendants as well as asserted pendent state tort claims for assault, negligence per se, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression.”

At the time of the incident, Fuller was a member of the Waxahachie Police Department as

well as a member of the Waxahachie Police Department’s SWAT Team.’ Fuller, and the other
Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door. All of Plaintiffs’ allegations against the

Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions

that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that

Defendants, including Puller:

e Made an unannounced, violent, surprise and warrantless no-knock entry;°

® Attacked Plaintiffs’ home as a heavily armec “paramilitary force” (a SWAT

team);’
© Used a battering ram to break open the front door;® and
¢ Used flash bang devices to make great noise and emit smells and smoke.”
Further, Plaintiffs’ allege that Fuller, as well as the other Defendants, was “[a]t all times

relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-]established and well known

law pertaining to the legal rights of citizens.....and Defendant [Fuller] was acting ‘under color of

law’...”!°

3 fd, at pp. 39-40, 37.
4 yd, at p. 7, 1 4-F.

5 fd, at p. 11, fn. 5.

6 Id, at p. 19, J 12(c).
Td.

8 Id. at p. 20, I 12(d).

9 fd. at p. 28, 1 29.

10 Pd, at p. 23, 4] 18.

DEFENDANT BRIAN FULLER’S MOTION TO DISMISS PLAINTIFFS’ STATE TORT CLAIMS - Page 2

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gross negligence per Se, criminal trespass, criminal assault, aggravated assault and official

oppression.*

At the time of the incident, Glidewell was a member of the Waxahachie Police

Department as well as a member of the Waxahachie Police Department’s SWAT Team.*

Glidewell, and the other Defendants, were serving a search warrant on the behalf of the DEA but
mistakenly entered Plaintiffs’ home instead of the home next door.? All of Plaintiffs’ allegations
against the Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their
actions that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege
that Defendants, including Glidewell:

© Made an unannounced, violent, surprise and warrantless no-knock entry;°

® Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’
© Used a battering ram to break open the front door;’ and
e Used flash bang devices to make great noise and emit smells and smoke.”
Further, Plaintiffs’ allege that Glidewell, as well as the other Defendants, was “[a]t all

times relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known

law pertaining to the legal rights of citizens.....and Defendant [Glidewell] was acting ‘under

color of law’?

3 Jd, at pp. 39-40, ] 37.
4 Id. at p. 8,1 4-l.

5 yd. at p. V1, fn. 5.

6 Jd. at p. 19, J 12(c).
Td,

® 7d, at p. 20, J 12(d).
Id. utp. 28, J 29.

10 fd. at p. 23, 7 18.

DEFENDANT O.T. GLIDEWELL’S MOTION TO DISMISS PLAINTIFFS’
STATE TORT CLAIMS -— Page 2

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gross negligence per se, criminal trespass, criminal assault, aggravated assault and official

oppression.”

AL the time of the incident, Gonzales was a member of the Waxahachie Police

Department as well as a member of the Waxahachie Police Department’s SWAT Team.4

Gonzales, and the other Defendants, were serving a search warrant on the behalf of the DEA but
mistakenly entered Plaintiffs’ home instead of the home next door.> All of Plaintiffs’ allegations
against the Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their
actions that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege
that Defendants, including Gonzales:

¢ Made an unannounced, violent, surprise and warrantless no-knock entry;°

e Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’

e Used a battering ram to break open the front door;® and

° Used flash bang devices to make great noise and emit smells and smoke.”

Further, Plaintiffs’ allege that Gonzales, as well as the other Defendants, was “Tajt all
times relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known
law pertaining to the legal rights of citizens.....and Defendant [Gonzales] was acting ‘under

color of law’...’7!9

3 Jd. at pp. 39-40, 4 37.
4 Id. at p. 6, 1 4-D.

5 fd. at p. 11, fn. 5.

6 Id, at p. 19, f 12(c).
Td.

# Jd, at p. 20, If 12(d).

9 Id, at p. 28, {| 29.

0 yd at p. 23, 7 18.

DEFENDANT ANDREW GONAZLES’ MOTION TO DISMISS PLAINTIFFS’
STATE TORT CLAIMS - Page 2

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other Defendants as well as asserted pendent state tort claims for assault, negligence per se, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression."

At the time of the incident, Koch was a member of the Waxahachie Police Department as
well as a member of the Waxahachie Police Department’s SWAT Team.’ Koch, and the other
Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door.’ All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that
Defendants, including Koch:

e Made an unannounced, violent, surprise and warrantless no-knock entry;®

e Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT
team);”

¢ Used a battering ram to break open the front door;® and

© Used flash bang devices to make great noise and emit smells and smoke.”

Further, Plaintiffs’ allege that Koch, as well as the other Defendants, was ‘“Talt all times
relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known
law pertaining to the legal rights of citizens.....and Defendant [Koch] was acting ‘under color of

law’,..”!°

4 Jd. at pp. 39-40, J 37.
4 Id, at p, 6, 9 4-C.
Jd, at p. 11, fn. 5.

6 Id, at p. 19, 4 12(c).
"1d.

8 Id. at p. 20, J 12(d).
"Id, at p. 28, J 29.

0 Id. atp. 23, 18.

DEFENDANT DUSTIN KOCH’S MOTION TO DISMISS PLAINTIFFS’ STATE TORT CLAIMS - Page 2

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other Defendants as well as asserted pendent state tort claims for assault, negligence per se, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression.”

At the time of the incident, Lewis was a member of the Waxahachie Police Department

as well as a member of the Waxahachie Police Department’s SWAT Team.’ Lewis, and the
other Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door? All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that
Defendants, including Lewis:

¢ Made an unannounced, violent, surprise and warrantless no-knock entry;°

e Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’
¢ Used a battering ram to break open the front door;* and
¢ Used flash bang devices to make great noise and emit smells and smoke.”
Further, Plaintiffs’ allege that Lewis, as well as the other Defendants, was “[a]t all times

relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known

law pertaining to the legal rights of citizens.....and Defendant [Lewis] was acting ‘under color of

law’..718

3 Id, at pp. 39-40, ¥ 37.
‘ Id. at p. 8, 9 4-H.

3 Jd, at p. 11, fn. 5.

® Yd, at p. 19, 7 12(c).
Ted.

8 fd, at p. 20, J 12(d).

° Id. at p. 28, J] 29.

10 fd at p. 23, 9 18.

DEFENDANT JAMES LEWIS’ MOTION TO DISMISS PLAINTIFES’STATE TORT CLAIMS -— Page 2

* Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 27 of66 PagelD 1580

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other Defendants as well as asserted pendent state tort claims for assault, negligence per se, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression.’
At the time of the incident, Sanders was a member of the Waxahachie Police Department

as well as a member of the Waxahachie Police Department’s SWAT Team.’ Sanders, and the
other Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door.’ All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that
Defendants, including Sanders:

© Made an unannounced, violent, surprise and warrantless no-knock entry;°

e Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’
e Used a battering ram to break open the front door;* and
e Used flash bang devices to make great noise and emit smells and smoke.?
Further, Plaintiffs’ allege that Sanders, as well as the other Defendants, was “[a]t all

times relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-]established and well known

law pertaining to the legal rights of citizens,....and Defendant [Sanders] was acting ‘under color

of law’,..”'9

4 Td, at pp. 39-40, J 37.
4 fd. at pp. 7-8, 1 4-G.
57d, at p. 11, fn. 5.

® fd, at p. 19, J 12(c).

7 Id,

8 Id. at p. 20, 4 12(d).

2 Id. at p. 28, J 29.

10 Td. at p. 23, 7 18.

DEFENDANT STEPHEN SANDERS’ MOTION TO DISMISS PLAINTIFFS?’
STATE TORT CLAIMS - Page 2

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other Defendants as well as asserted pendent state tort claims for assault, negligence per se, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression.*

At the time of the incident, Taylor was a member of the Waxahachie Police Department

as well as a member of the Waxahachie Police Department’s SWAT Team.‘ Taylor, and the

other Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door? All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that
Defendants, including Taylor:

¢ Made an unannounced, violent, surprise and warrantless no-knock entry;°

¢ Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’
° Used a battering ram to break open the front door;® and
e Used flash bang devices to make great noise and emit smells and smoke.”
Further, Plaintiffs’ allege that Taylor, as well as the other Defendants, was “[aJt all times

relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-Jestablished and well known

law pertaining to the legal rights of citizens.....and Defendant [Taylor] was acting ‘under color

of law’...”!9

47d, at pp. 39-40, J 37.
4 Id. atp.9, 9 4-J.

5 fd. atp. U1, fn. 5.

6 fd. at p. 19,  12(c).

T Hd.

* Id, at p. 20, {| 12(d).
"Id. at p. 28, J 29.

0 fd at p. 23, J 18.

DEFENDANT JAMES TAYLOR’S MOTION TO DISMISS PLAINTIFFS’
STATE TORT CLAIMS -— Page 2

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other Defendants as well as asserted pendent state tort claims for assault, negligence per se, gross
negligence per se, criminal trespass, criminal assault, aggravated assault and official oppression.?

At the time of the incident, Young was a member of the Waxahachie Police Department

as well as a member of the Waxahachie Police Department’; SWAT Team.’ Young, and the
other Defendants, were serving a search warrant on the behalf of the DEA but mistakenly entered
Plaintiffs’ home instead of the home next door.’ All of Plaintiffs’ allegations against the
Defendants (Plaintiffs do not differentiate between Defendants’ actions) involve their actions
that night in attempting to execute the DEA search warrant. Specifically, Plaintiffs allege that
Defendants, including Young:

¢ Made an unannounced, violent, surprise and warrantless no-knock entry;°

¢ Attacked Plaintiffs’ home as a heavily armed “paramilitary force” (a SWAT

team);’
® Used a battering ram to break open the front door;® and
¢ Used flash bang devices to make great noise and emit smells and smoke.”
Further, Plaintiffs’ allege that Young, as well as the other Defendants, was “[al]t all times

relevant to the acts described in this Complaint, ... [a] fully trained, experienced, law
enforcement officer[] who knew, or should have known, the well[-]established and well known
law pertaining to the legal rights of citizens..,..and Defendant [Young] was acting ‘under color

of law’...’!°

47d. at pp. 39-40, | 37.
“Id, atp. 7,4 4-E.
Y7d-atp. 11, fn. 5,

® fd. at p. 19, Wf 12(c).

7 Id.

8 Id. at p. 20,  12(d).
9 Id. at p. 28, If 29.

'0 Tf. at p. 23, 9 18.

DEFENDANT DERRICK YOUNG’S MOTION TO DISMISS PLAINTIFFS’
STATE TORT CLAIMS -— Page 2

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EXHIBIT “C”

EXHIBIT C : Probable Cause Affidavit [filed in a Texas State Court, not
in a federal court; does not mention or refer to any plaintiff and does not
mention or refer to plaintiffs’ home]
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THE STATE OF TEXAS AFFIDAVIT TO SUPPORT THE
ISSUANCE OF SEARCH WARRANTS AT
573 8™ STREET, LANCASTER, TEXAS
AND 1211 GLENCOE DRIVE, GLENN

COUNTY OF DALLAS HEIGHTS, TEXAS

AFFIDAVIT IN SUPPORT OF THE ISSUANCE OF A SEARCH WARRANT

I, Christopher A. Hight, the undersigned Affiant, am a Peace Officer under the laws of Texas

and being duly sworn, on oath makes the following statements and accusations:

1, *° Tam currently employed by the City of Dallas Police Department (DPD) as a police
officer. I have been so employed for approximately 29 years and have been assigned to the
Narcotics Division of said department for approximately the last 22 years. I am currently certified
as a Master Peace Officer by the Texas Commission on Law Enforcement. Since April 2005, I
have been assigned to the Drug Enforcement Administration (DEA), Department of Justice, as a
deputized Task Force Officer. I am currently assigned to DEA’s Strike Force 1. During my
employment as a police officer, I have used a variety of methods during drug related
investigations, including, but not limited to, visual surveillance, general questioning of witnesses,
the use of: search warrants, confidential informants, undercover agents, pen registers/trap and
trace devices, electronic mobile tracking/monitoring devices, and Title III wire interceptions.
Based on my training and experience relating to the investigation of drug traffickers, and based
upon interviews I have conducted with defendants, informants, witnesses, and participants in drug
trafficking activity, I am familiar with the ways that drug traffickers conduct their business. My
familiarity includes: the various means and methods by which drug traffickers import and
distribute drugs; their use of cellular telephones and calling cards to facilitate drug activity; and
their use of numerical codes and code words to conduct drug transactions.

2. Furthermore, based on my training, experience, and my participation in this
investigation and other investigations involving drug trafficking organizations, I know:

a. drug traffickers often place assets, including accounts at financial institutions, in

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names Other than their own to avoid detection of those assets by government or
other law enforcement agencies;

b, even though these assets are in other persons names, the drug dealers continue to
use the assets and exercise dominion and control over them;

C. large-scale narcotics traffickers must keep access to large amounts of cash in order
to maintain and finance their narcotics business;

d, illicit drug traffickers maintain books, records, receipts, notes, ledgers, computers
with hard drive and media storage devices, money orders, photographs, and other
papers relating to the transportation, ordering, sale and distribution of controlled
substances; that illicit drug traffickers commonly “front" (provide on consignment)
controlled substances to their customers; and that the aforementioned books,
records, computers with hard drive and media storage devices, receipts, notes,
ledgers etc. are maintained where the illicit drug traffickers have ready access to
them; :

e. persons who traffic in controlled substances, like any other person, in that they
maintain documents and records. These documents and records will normally be
retained for long periods regardless of whether their value to the individual has
diminished. Often times, this type of evidence is generated, maintained, and
subsequently forgotten. Hence, documents that one would normally think a prudent
person would destroy because of the incriminating nature of thé documents are kept.

In fact, affiant has participated in the execution of search warrants where
documentary evidence dating back years was found. It is also affi ant’s experience
that the larger, more complex a continuing criminal enterprise is, the more
documentary evidence is generated during the course of commission;

f. it is common for large-scale dealers to secrete contraband, proceeds of drug sales,
and records of drug transactions in secure locations within their residences,
businesses, safe deposit boxes, and obscure locations known only to them (e.g. mail
drops, mini storage warehouses) for easy access and to conceal’ them from law
enforcement authorities;

g. persons involved in large-scale drug trafficking conceal in their residences,
businesses, safe deposits boxes, and vehicles, caches of drugs, large amounts of
currency, financial instruments, precious metals, jewelry, personal effects, coin
collections, and other items of value representing the proceeds of drug transactions;
and evidence of financial transactions relating to obtaining, transferring, secreting,
or spending large sums of money made from engaging in illegal narcotic trafficking
activities;

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3.

although drug dealers often store their valuables in their residence, including
proceeds from their drug sales, they often store their drugs and other evidence of
their criminality in places other than their residences to protect themselves if law

enforcement were to search their residence;

drug dealers often purchase expensive vehicles and residences with the proceeds
from their drug transactions;

when drug dealers amass proceeds from the sale of drugs, they often attempt to
legitimize these profits. In order to accomplish this goal, drug traffickers utilize
foreign and domestic banks and their attendant services, securities, cashier's checks,
money orders, bank drafts, letters of credit, brokerage houses, trusts, partnerships,
shell corporations and business fronts;

drug traffickers commonly maintain addresses or telephone numbers in books,
papers or media storage devices, which reflect the names, addresses and/or
telephone numbers for their associates in the drug trafficking organization;

drug traffickers take, or cause to be taken, photographs of themselves, their
associates, their properties, and their products;

drug traffickers utilize cellular telephones to communicate with their drug sources,
customers, and other co-conspirators in furtherance of their criminal activity.

in addition to controlled substances, drug traffickers usually keep paraphernalia for
manufacturing cutting, packaging, weighing and distributing their drugs, and for the
collection, packaging, counting, and shipment of drug proceeds. This paraphernalia

includes but is not limited to, scales, plastic bags, rubber gloves, heat sealers, rubber
bands and vacuum sealers;

the courts have recognized unexplained wealth is probative evidence of crimes
motivated by greed, in particular, illegal trafficking in controlled substances.

This affidavit is submitted in support of the issuance of search warrants, pursuant to

Texas Code of Criminal Procedure Article 18.02, authorizing the search of:

a. 573 8" Street, Lancaster, Dallas County, Texas (hereinafter, “the 8"" Street

residence”), a single-family residence, which is located on the north side of the 500 block of 8"

Street and is the thirteenth residence west from Elm Street. The residence is a white-frame, single

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story residence, with a gray composition shingle roof, and the numbers “573” painted on the curb
directly in front of the residence and affixed to a wooden post that supports the front porch. Also,
the property contains two outbuildings located behind the residence. Said premise, in addition to
the foregoing description, also includes all other buildings, structures, places and vehicles on said
premises and within the curtilage, which are found to be under the control of the suspected parties
named below and in, on, or around which said suspected parties may reasonably reposit or secrete
property which is the object of the search requested herein. Said residence is in the charge of and
controlled by Jonathan Fierro, a Hispanic male born on June 28, 1990 (hereinafter, “Fierro”); and

b. 1211 Glencoe Drive, Glenn Heights, Dallas County, Texas (hereinafter,
“Glencoe residence”), a single-family residence, which is located on the south side of the 1200
block of Glencoe Drive and is the sixth residence east from Gateway Boulevard, The residence is
a brown-brick, two-story residence, with a gray composition shingle roof, the numbers “1211” are
painted on the curb directly in front of the residence, and a decorative placard with the numbers
1211” affixed to the residence near the garage doors. Said premise, in addition to the foregoing
description, also includes all other buildings, structures, places and vehicles on said premises and
within the curtilage, which are found to be under the control of the suspected parties named below
and in, on, or around which said suspected parties may reasonably reposit or secrete property
which is the object of the search requested herein. Said residence is also in the charge of and
controlled by Fierro.

4. I believe and hereby charge and accuse there is at said premise personal property
concealed and kept in violation of the laws of Texas and described as follows: instruments of an
organized criminal enterprise associated with the ongoing distribution of methamphetamine and
the laundering of the attendant proceeds, as enumerated in Attachment A (attached to this
affidavit and now being made a part hereof for all purposes and incorporated herein as if written
verbatim within the confines of this affidavit), Furthermore, I contend the possession of the said
described personal property is occurring at the 8" Street and Glencoe residences on an ongoing
basis, including today’s date of March 27, 2019.

Background of the Investigation

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5. In October, 2018, members of Strike Force 1 began an investigation into the drug
trafficking and money laundering activities of Fierro. As a result of several surveillances, agents
identified Fierro’s residence, the Glencoe residence, his drug stash location, the 8" Street
residence, and his vehicle, a silver, 2011 Lincoln MKX.

6. On October 23, 2018, in furtherance of the investigation, agents utilized a
confidential source to make a controlled purchase of approximately one kilogram of
methamphetamine from Fierro for $5,500 cash, After the purchase, Fierro traveled to his
residence, the Glencoe residence, with the cash he was paid for the drugs.

Ti On March 27, 2019, at about 2:50 p.m., members of Strike Force 1 established
surveillance on the 8" Street residence, At 5:30 p.m., agents observed Fierro arrive driving his
Lincoln MKX, park in the driveway, and walk out of sight toward the residence. About 15
minutes later, Fierro returned to his vehicle and departed. Agents followed Fierro until he arrived
at Home Depot, 500 North IH-35E, in Lancaster. Upon arrival, agents observed Fierro park his
Lincoln next to a black, 2008 Ford F-150, which was parked on the far west side of the Home

Depot lot away from any other vehicles. Fierro parked in such a way so his Lincoln’s passenger
side was beside the Ford’s driver’s side. A soon as Fierro stopped, the driver of the Ford F-150,
Vazquez, exited the Ford and immediately entered the front passenger seat of Fierro’s Lincoln.
About one minute later, Vasquez exited Fierro’s Lincoln, opened the Ford’s driver's side rear
passenger door an appeared to place an object on the truck’s floorboard behind the driver's seat.

Vasquez then entered the Ford’s driver’s seat and departed. Fierro also departed.

8. Agents followed both Vasquez and Fierro. Agents suspected they observed a drug
transaction between Fierro and Vasquez and requested Lancaster police officers conduct a
pretextual traffic stop of Vasquez’s Ford upon observing a traffic violation. Lancaster police
officers observed Vasquez failed to signal a turn and failed to make a proper turn on JH-35E north
of Beltline Road, Lancaster, Texas. Lancaster officers stopped Vasquez for the observed traffic
violations. Upon contacting Vasquez, he opened his driver’s door and Lancaster officers
observed, in plain view as they stood outside the truck, suspected cocaine in the driver door’s

pouch. Lancaster officers placed Vasquez under arrest for the suspected cocaine, A search

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incident to arrest of Vasquez’s truck revealed a white, plastic bag that contained a gallon-sized,
Ziplock-type bag with approximately one kilogram of suspected methamphetamine. Vasquez was
taken into custody and transported to the Lancaster Police Department for processing and
interviewing.

9. While Vasquez was stopped by Lancaster officers, agents continued following
Fierro as he traveled south on [H-35E. Once agents learned Lancaster officers located the
kilogram of methamphetamine in Vasquez’s truck, they stopped Fierro and took him into custody.

A search incident to arrest of Fierro’s person revealed a large amount of cash. The cash was
sealed on scene in an evidence envelope pending an official count. Fierro was transported to the
Lancaster Police Department for processing and interviewing. Fierro invoked his right to counsel
and agents did not attempt to interview him.

10. | Vasquez was advised of his rights pursuant to Miranda and he knowingly and
voluntarily waived those rights and provided a verbal statement. During his verbal statement, he
admitted to purchasing the kilogram of methamphetamine officers seized from Fierro for $3,900.
Vasquez also admitted to purchasing another kilogram of methamphetamine in the recent past
from Fierro for the same price. On both occasions Fierro sold methamphetamine to Vasquez, he
drove his Lincoln MKX.

11. Based upon the totality of the above-related facts, I believe probable cause exists to
believe items enumerated in Attachment A will be found in the 8" Street and Glencoe residences.

I believe a search of those residences will reveal evidence showing Fierro engaged in the
unlawful delivery and/or possession with intent to deliver controlled substances; to wit:

methamphetamine, a felony under Chapter 481 of the Texas Health and Safety Code, and/or to
store the evidence of and proceeds from such crimes.

12. This affidavit is based on my own personal knowledge as well as information
provided to me by other law enforcement officers who participated in this investigation with me
and are known to me as credible. Since this affidavit is being submitted for the limited purpose of
establishing probable cause, I have not included each and every fact known to me concerning this

investigation. I have only set forth the facts I believe are essential to establish probable cause.

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“NO KNOCK” AUTHORIZATION
13. | request authorization to enter the 8" Street residence without first knocking and
announcing the presence and purpose of officers executing the warrant sought herein. As
reasonable suspicion to believe such knocking and announcing would be dangerous, futile, or
would inhibit the effective investigation of the offense described in this affidavit, ] submit the
following facts and circumstances:

a. During surveillance of the 8" Street residence, agents observed at least four
males entering and exiting the residence and two outbuildings, Agents observed the males
frequently entering the residence’s front yard and watching vehicular traffic as it passed. | believe
these males act as “Jookouts” for law enforcement officers’ presence. I believe officers
attempting lo execute the warrant will be observed prior to their entry, which will give the
occupants time to destroy evidence or flee the scene.

WHEREFORE, | ask for issuance of a warrant that will authorize officers to search the 8"
Strect and Glencoe residences, as well as their outbuildings, for the personal property enumerated in
Attachment A, attached hereto, and seize the same.

FURTHERMORE, | request authorization to dispense with the usual requirement to knock

and announce our purpose before entering the suspected premise to execute this warrant

Lb bi

CHRISTOPHER A, HIGHT
DALLAS POLICE DEPARTMENT

Subscribed and sworn to before me by said Affiant on this the27th day of March 2019.

| —)
JUDGE HECTOR GARZA
195™ JUDICIAL DISTRICT COURT
DALLAS, DALLAS COUNTY, TEXAS

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EXHIBIT “D”

EXHIBIT D : the two (2) Search Warrants [issued out of a Texas State
Court, by a Texas State Judge, in Dallas; they do not mention or refer to any
plaintiff or mention or refer to any person, and do not mention or refer to
plaintiffs’ home or its address in any manner; but they do mention two (2)
other locations specifically and by their specific addresses]
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SEARCH WARRANT

THE STATE OF TEXAS WARRANT AUTHORIZING THE
SEARCH OF 1211 GLENCOE DRIVE,

COUNTY OF DALLAS GLENN HEIGHTS, TEXAS

THE STATE OF TEXAS to the Sheriff or any Peace Officer of Dallas County, Texas, or any Peace Officer of
the State of Texas,

GREETINGS:

WHEREAS, the affiant whose name appears on the affidavit attached hereto is a peace officer under
the laws of Texas and did heretofore this day subscribe and swear to said affidavit before me (which said
affidavit, including Attachment A, is here now made a part hereof for all purposes and incorporated herein as
if written verbatim within the confines of this Warrant), and whereas I find that the verified facts stated by
affiant in said affidavit show that affiant has probable cause for the belief he expresses herein and estublishes
existence of proper grounds for issuance of this Warrant;

NOW, THEREFORE, you are communded to enter the suspected place, vehicles, and premises
described in said affidavit, to wit: 1211 GLENCOE DRIVE, GLENN HEIGHTS, DALLAS COUNTY,
TEXAS. At said places you shall search for and, if same be found, seize and bring before me the properly
enumerated in Attachment A.

FURTHERMORE, I find that affiant has established reasonable suspicion to bel;
announce their purpose by the officers executing this warrant would be futi érous, and otherwise inhibit
the effective investigation of the offense or offenses red: € purpose of this warrant, Therefore, unless
circumstances to the contrary are di prior {o entry, you are hereby authorized to dispense with the
usual require! Knock and announce your purpose before entering the suspected premise to execute

warrant
[tis further ordered that all U.S. currency and assets seized that may be forfeitable under Texas law or

Title 21 of the United States Code be released to the appropriate agency, whether the agency be state or
federal, by either depositing the currency into an appropriate bank account or converting it into a cashier's
cheek or other acceptable negotiable instrument to be deposited into an appropriate account for forfeiture
procecdings.

Herein fail not, but have you then and there this Warrant within three days, exclusive of the day of its
execution, with your return thereon, showing how you have executed same.

ISSUED AT_4:\'___ o'clock P M., on this the 27" day of March, 2019, to certify which witness my

hand this day. Lo

JUDGE HECTOR GARZA
195™ JUDICIAL DISTRICT COURT
DALLAS, DALLAS COUNTY, TEXAS

JIMERSON-00008
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 40 of 66 PagelD 1593

SEARCH WARRANT

THE STATE OF TEXAS WARRANT AUTHORIZING THE
SEARCH OF 573 8" STREET,
COUNTY OF DALLAS LANCASTER, TEXAS

THE STATE OF TEXAS to the Sheriff or any Peace Officer of Dallas County, Texas, or any Peace Officer of
the State of Texas,

GREETINGS:

WHEREAS, the affiant whose name appears on the affidavit attached hereto is a peace officer under
the laws of Texas and did heretofore this day subscribe and swear to said affidavit before me (which said
affidavit, including Attachment A, is here now made a part hereof for all purposes and incorporated herein as
if written verbatim within the confines of this Warrant), and whereas I find that the veri fied facts stated by
affiant in said affidavit show that affiant has probable cause for the belief he expresses herein and establishes
existence of proper grounds for issuance of this Warrant;

NOW, THEREFORE, you are commanded to enter the suspected place, vehicles, and premises
described in said affidavit, to wit: 573 8™! STREET, LANCASTER, DALLAS COUNTY, TEXAS. At
said places you shall search for and, if same be found, seize and bring before me the property enumerated in
Attachment A.

FURTHERMORE, | find that affiant has established reasonable suspicion to believe that to knock and
announce their purpose by the officers executing this warrant would be futile, dangerous, and otherwise inhibit
the effective investigation of the offense or offenses related to the purpose of this warrant. Therefore, unless
circumstances to the contrary are discovered prior to entry, you are hereby authorized to dispense with the
usual requirement that you knock and announce your purpose before entering the suspected premise to execute
this warrant

It is further ordered that all U.S. currency and assets seized that may be forfeitable under Texas law or
Title 21 of the United States Code be released to the appropriate agency, whether the agency be state or

federal, by either depositing the currency into an appropriate bank account or converting it into a cashier's
check or other acceptable negotiable instrument to be deposited into an appropriate account for forfeiture

proceedings.

Herein fail not, but have you then and there this Warrant within three days, exclusive of the day of its
execution, with your return thereon, showing how you have executed same.

ISSUED AT. qo o'clock l M., on this the 27 day bf March, 2019, to certify which witness my
hand this day.

JUDGE HECTOR GARZA
195T™ JUDICIAL DISTRICT COURT
DALLAS, DALLAS COUNTY, TEXAS

JIMERSON-00009
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ATTACHMENT A

1. Books, records, receipts, notes, correspondence, ledgers, bank records, money orders, credit
card records, deposit items, bank drafts, wire transfer records, receipts for cashier's checks,
airline tickets and other items relating to domestic or international travel, records relating to
pre-paid debit or stored value cards, passbooks, certificates of deposit, time saving certificates,
financial statements, loan records, real estate purchase and/or rental records (including
contracts, deeds, promissory notes, applications, and rental agreements), records reflecting the
purchase, ownership, sale, or lease of automobiles (including titles, registration, purchase or
lease agreements, and payment records) automobile insurance policy records, records
reflecting the purchase of items such as jewelry, furs, furniture and electronics, or other
expenditures of money, mail and contract mail carrier records, and/or other papers relating to
the transportation, ordering, sale and distribution of illegal controlled substances or relating to
the receipts and/or disposition of the proceeds from the distribution of illegal controlled
substances or the illegal laundering of funds derived from sale of controlled substances;

2. Currency, financial instruments, including stocks, bonds, and other securities, precious metals,
jewelry, and/or other items of value and/or proceeds of drug transactions and evidence of
financial transactions relating to obtaining, transferring, laundering, secreting or spending
large sums of money made from engaging in illegal controlled substance activities, keys to
automobiles, false identifications used to acquire assets or make expenditures in alias or
nominee names, keys to safe deposit boxes;

3. Telephone and address books, electronic pagers and pager records, mobile and cellular
telephones including records of telephone calls whether recorded in writing or electronically,
and lists of telephone and pager numbers or papers which reflect names, addresses and/or
telephone numbers of individuals associated in dealing in illegal controlled substances,

4, Photographs and videotapes of individuals and property, with controlled substances or money
and/or associates in the drug trafficking business;

5. Illegal controlled substances, scales, and other materials used in the packaging, cutting,
weighing, cooking and/or manufacturing and distributing of illegal controlled substances,

6. Electronic paging devices (pagers) and cellular telephones, contracts, purchase and/or rental
agreements, and billing records relative to the acquisition and use of pagers and/or cellular

telephones;

Th Documents reflecting the shipment or mailing of parcels through the U.S Postal Service or
commercial carriers such as United Parcel Service (UPS) or FedEx;

8. Firearms and ammunition for firearms;

JIMERSON-00010
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 42 of 66 PagelD 1595

9.  Blectronic devices which are capable of analyzing, creating, displaying, converting, or
transmitting electronic or magnetic computer impulses or data. These devices include
computers, computer components, computer peripherals, word processing equipment,
modems, monitors, printers, plotters, encryption circuit boards, optical scanners, external hard
drives, and other computer-related electronic devices;

10. Instructions or programs stored in the form of electronic or magnetic media which are capable
of being interpreted by a computer or related components. The items to be seized include
operating systems, application software, utility programs, compilers, interpreters, and other
programs or software used to communicate with computer hardware or peripherals either
directly or indirectly via telephone lines, radio, or other means of transmission; and

11, Written or printed material which provides instructions or examples concerning the operation
of a computer system, computer software, and/or any related device.

JIMERSON-00011
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EXHIBIT “E”

EXHIBIT E: Filed returns on two (2) Search Warrants [filed in a Texas
State Court, in Dallas, not in a federal court: they do not mention or refer to
any plaintiff or mention or refer to any person, and do not mention or refer
to plaintiffs’ home or its address in any manner; but they do mention two
(2) other locations specifically and by their specific addresses]
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 44 o0f66 PagelD 1597

RETURN AND INVENTORY
THE STATE OF TEXAS 573 874 STREET,
COUNTY OF DALLAS LANCASTER, TEXAS

The undersigned A ffiant, being a Peace Officer under the laws of Texas and being duly sworn,
on oath certifies that the foregoing Warrant came to hand on the day it was issued and that it was
executed on the 27" day of March, 2019, by making the search directed therein and seizing during
such search the following described personal property:

Approximately 1,210.5 grams heroin;

Approximately 2,027.0 grams crystal methamphetamine,

Approximately 1,206.6 grams liquid methamphetamine,

Approximately 625.0 grams marijuana;

1 —Glock model 20, 10mm semi-automatic handgun, serial #BBLU401;
| —LG cellular telephone;

Drug packaging materials;

] - one gallon acetone can;

| — Master lock; and

Approximately 656.7 grams of an unknown type drug.

LE A. HIGHT

DALLAS POLICE DEPARTMENT

SUBSCRIBED AND SWORN to before me, the undersigned authority, on this the I* day of

April, 2019.

nae PUBLIC, a ANP FOR
ee COUNTY, TEXAS

JIMERSON-00012

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RETURN AND INVENTORY
THE STATE OF TEXAS 1211 GLENCOE DRIVE,
COUNTY OF DALLAS GLENN HEIGHTS, TEXAS

The undersigned A ffiant, being a Peace Officer under the laws of Texas and being duly sworn,
on oath certifies that the foregoing Warrant came to hand on the day it was issued and that it was
executed on the 27" day of March, 2019, by making the search directed therein and seizing during
such search the following described personal property:

No arrests or seizures were made.

CHRISTOPHER A. HIGHT

DALLAS POLICE DEPARTMENT

SUBSCRIBED AND SWORN to before me, the signed authority, on this the 1" day of

April, 2019. S Lees? _

TARY PUBLIC, IN AND FOR
ALLAS COUNTY, TEXAS

JIMERSON-00013
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EXHIBIT “F”

EXHIBIT F : Home Repair Records/Invoices/some photos [all pertaining
to plaintiffs’ home]
Case 3:20-cv-02826-L-BH

Hawkeye Home Improvement, Inc.
121 Lynnie Pennie

Midlothian, TX 76065
972-754-0515

johnniekay@ sbcglobal.net
HawkeyeHomelmprovement.com

Document 150-1

Bill To

Waxahachie Police Department

Filed 03/08/21

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Invoice

[ Date Invoice No. Project P.O. Number
04/15/19 2161 ~~
Description Quantity Rate Amount
| Entry door, hardware, trim - 404.39 404.39
Labor On Entry Door 275.00 275.00
| Labor & Materials on 6 Replacement windows 2,550.00 2,550.00
Sales Tax 8.25% 0.00
|
|
I. _ :
| Subtotal $3,229.39
Total $3,229.39
Balance Due $0.00 |

JIMERSON-00014

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Case 3:20-cv-02826

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Mer O. BOX 381975 593 8TH ST
DUNCANVILLE, TX 75138 LANCASTER, TX 75146
Order Date Tele #1 PONumber "Order Number
05/03/19 972-709-1188 DV036351
inventory Style/ltem Color/Description Quantity Units Price Extension
sy QHDXXAM DAZZLING (S) 15 22TRUMPET 1ST 65.33 SY 13.07 854,04
seven | S/8RB 3/8 6LB PAD 30 YDS/ROLL 64.28 SY 0.00 0.00
Nihal wi» Amt or Inv: 30 YDS./ROLL ,
eet) 30-999 250 CARPET INSTALL PI 65.33 SY 5.56 363 00
FURNITURE MOVING BY THE YARD 65.33 SY 0.00 0.00
1 YEAR INSTALLATION WARRANTY 1.00 SY 0.00 0.00
COMPUTER GENERATED CARPET 65.33 SY 0.00 0.00
DISCOUNT TO CUSTOMER DISCOUNT -1.00 EA 67.04 -87 04
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i z CARPET REMOVAU/UNSANITARY 1.00 SY 0.00 0.00
pe CSA CSA 7.41 EA 0,00 0.00
iu — 05/28/19 aaa —— meet —--— 41:08AM —
suite: Sales Representative(s):
baie OLEN PHILLIPS
Subtotal: 1,150.00
SS Sales Tax: 0,00
Misc, Tax: 0.00
INVOICE TOTAL: —_—«‘$1,150.00
Discount: 0.00
Less Payment(s): 1,150.00
BALANCE DUE: $0.00

JIMERSON-00016
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 50o0f66 PagelD 1603

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JIMERSON-00017
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JIMERSON-00023
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EXHIBIT “G”

EXHIBIT G : Ambulance Records
Dect cuCaserSr20-cRORE NS BA Dottiment 150°" Filed 03/08/21 P8§e58 of 66 PagelD 1611

|g Lancaster Fire Department
is) Patient Care Record

Name: JIMERSON, KAREN

Date: 03/27/2019 Patient 1 of2

Incident #: 19-1650

Pe ee

Injury

593 EIGHTH ST

‘| Pain Control

Lancaster

| 1X

75146

US
9744975804

‘my whole body is hurting"
‘units.

47 Yrs, 6 Months, 0 Days

"1 Not Hispanic or Latino [ Units:

a

Black or African America
Advance Directive
ent Stat

Pain - Multiple injuries 2s
__ : Pig tn Assault - Assaull with bodily force - Home -
— a 03/28/2019

Trauma

None Noted
None Reported
No

PTT nl ks

| Medications None Reported
| Allergies No known allergies
Other - partially paralyzed on right side

"GCSES VIM) /Ovalifiers

2} Side’ See Bp See |. Puls bit PSPOZ.!
L Sit | 134/944 98 Rm 15=4+5+6
category siroi Comments; ejAbharmatitled 7
Mental Status Mental Status No Abnormalities
Skin Skin No Abnormalities
HEENT Head/Face + | Pain
Eyes No Abnormalities -
Neck/Airway No Abnormalities
Chest Chest + | Pain ___|
Heart Sounds No Abnormalities _|
Lung Sounds No Abnormalities
Abdomen | General NoAbnormalitics Z i sac
Left Upper + | Pain —— 7 ~~ ae
Right Upper + |Pain
Left Lower + | Pain
Right Lower + | Pain
Back Cervical No Abnormalities
Thoracic No Abnormalities i
Lumbar/Sacral No Abnormalities :
| Pelvis /GU/GI Pelvis/GU/GI + | Pain (2) ef
| Extremities Left Arm PPPRINY eee eraser ene nr ae aera
[Right Arm __| + Pain (2) “
Left Leg + | Pain (3) —
Right Leg + | Pain {3) se aera
| Pulse Not Assessed |
Capillary Refill Not Assessed el]
Neurological Neurological No Abnormalities
Assessment Time:
Page tof 3 03/28/2019 00:38:32

Template Version: PCR-WEA-1,3.1

vara version: UI 4-UUUUUWIUUL fOC49
03:26 PH Page: 3

02/11/2021 T0:18173328851 FRO 2143820931

_ Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 59 of 66 PagelD 1612

gf6| Lancaster Fire Department
Patient Care Recor

Name: JIMERSON, KAREN

Incident #; 19-1650 Pate; 03/27/2019 Patlent 1 of 2

Leash cabt beh
| aostf pt sitting on a chair, pt stated that the police raided her house and forced her to the ground while she was in the bathroom. the pt stated that she was on the

| floor for "what felt like 20 minutes”, the pt stated that she was “hurting all over but more on my left side". pt was moved into the ambulance and v/s were taken. pt
| was monitored en-route with no Changes. pt report was given to the ER staff and care was transferred,

Drier peli

Transported No Lights/Siren 23:28:28
Patient's Choice

Methodist Charleton Medical Center
Law Enforcement

Hospital

Emergency Room

4500 W. Wheatland Road

Home/Residence

23:28:28
23:29:59
23:30:24

593 EIGHTH ST

LANCASTER
Dallas

TX

75146

US

M353

M353

911 Response
Emergent

A shift

City

Basic Lile Support
Assault

23:36:25
23:37:00

Dallas
Dallas
ni] TX
75237
4 US

23:50:58
00:08:21
00:20:00

| Unchanged

Atlandlng Are

De it vdakd

| Personnels: sakes ees aceon Role “DESYGe  Certifigatlon Level tige essere ean ASEH eae easton yes oan eel
| BURTON, DANNY Lead REMT-Paramedic (NREMT-P) - P8054 medic + 706559

' INGRAM, TYLER Oriver EMT-Paramedic - 731306

| EMT Rider, Student Other

S84 KAREN JIMERSON
Self

1593 EIGHTH ST

efi

Eanes,
Dispatch Delays

None/No Delay

Response Delays

None/No Delay

Scene Delays

None/No Delay

Transport Delays

None/No Delay

Turn Around Delays

None/No Delay

Page 2 0f 3

03/29/2019 00:38:32
Temptlate Version: PCR: WE8-1.3.1
Data Version: 001 74-9000000002176C49
2/1/20 aH 3H-cVIB FRESE B Fe eent 150-1" Filed 03/08/21 Phe 60 of 66 PagelD 1613

4B Lancaster Fire Department

‘VARY | Patient Care Record
_ Namat JIMERSON, KAREN Incident #: 19-1650 Date: 03/27/2019 Patient 1of2

(How.
cPatiant-Positic

Page 3 of 3 03/28/2019 00:38:32
Template Version: PCR-WEG-1.3.1
Data Version: 00174-0000000002176C49
wutiast S3b-cv VIR AEP ROR Ser NTL Flag 03/08/21

Lancaster Fire Department

a
FPF Patient Care Record

Nana! JIMERSON, JASAMEA

JIMERSON

Incident #; 1165)

Page 61 of 66 PagelD 1614

Date: 03/27/2019 Patient 2 af 2

Lancaster

TH

75146

US

nneeehoere Ha er i oir

244075004

tas or African American

tate.

‘Realdent Satu

ga tid anaes ee ae RN ee

: Pain- ‘Knee pain

“I Struck by Object - Contact with blunt object
= Home - 03/28/2019

| pedicnions Hone penerisd

\ Allargies No known altergies

| History None Reported

Ate ¥

Time =" |‘AVPU | Sida} 2 POS: > BP ~ nT RR 2] SPOR | ETCO2 |: CO%| “BG::|:o.Temp © |: Paln:.| GCS{E+V+M)/Quatifiers| 2 RTS” EPTS::
{24:53 Alert | FR Sit ]) 137/B6A | 66R 19k STRm 4 1524+5+6

Category

Mental Status

No Abnormalities

Mental Status
Skin Skin No Abnormalities
HEENT Head/Face “No Abnormalities
Eyes Ho Abnormalities
i Neck/Airway Ho Abnormalities
Chet Chest No Abnormalities
Heart Sounds No Abnormalities
Lung Sounds No Abnormalities
Abdomen General No Abnormalities
Left Upper No Abnormalities
Right Upper No Abnormalities
Left Lower No Abnormalities
Right Lower Ho Abnormalities
Gack Cervical No Abnormalities
Thoracic No Abnormatlitles
Lumbar/Sacral No Abnormalities
Peluls/GU/GI Pelvis/GU/EI No Abnormalities
Extremities teftArm No Abnormalities
Right Arm No Abnormalities
Left Leg No Abnormalities
Rightleg + | Pain
Pulse Not Assessed _|
Capillary Refill Not Assessed
No Abnormalities

Neurological

Neurological
Assessment Time:

Page tor2

03/28/2019 00.39:16
Template Version, PCR WEO-I,3.4

Data Versian-0024]-0000000002! 76C4F
U2/11/2U21 05:20 PH TU: 1817332BB51 FROM: 21493820931 Page: 6
Case 3:20-cv-02826-L-BH “Bocument 150-1 Filed 03/08/21 Page 62 0f 66 PagelD 1615

Bjtancaster Fire Department

Patient Care Record

Inckdent #; 15-4655 Bate: 03/27/2019 Patient 20f2

PLP ESTER INABA RST Reseda ig telttt die it ae reclend aia Vib Goudy MITE U UL GSN ERp neers tree tums est

f awh Mf wa cs rs
aost! pt standing next to her mother, pt stated that she was laying in her bed when a plece of glass from a window hit her in the knee. the pt had no signs of trauma,
| the pt requested to go to the ER. the pt was moved into the ambulance and monitored en-route with no changes. pt report was given to the ER staffand care was

Pie } PIP eta RRs ee eerie rie PTET oe pete te etre brarrabneee etic: 8

ie edit
Grit th)

Vital Signa @. °:

Anatomy of Injury °°"
Mechanism ofinjury "| None

{SpeclalConsiderations | None level.
lean Reazon Not Activated
Seer Sees Ne See ee
|Location Type | Home/fesidence Olsposition | | Transported NoLights/Siren PSAP Call °°") 24:28:98
Location 28. Transport Due To: Family Choice Dispatch Notified
Address . Ezz Transported To * Hethodist Charleton Medical Center | CallRecelved 23:26:28
Address 2 ; Requested By Law Enforcement Dispatched © | 23:29:39
| Mile Marker u Destination : | Hospitat En Route * 23:30:34
City. . LANCASTER Department "| Emergency Room Staged.
County Dallas Address : 3560 W. Wheatland Road Resp on Scene_
State TX Address 2 OnScene 23.36:25
Zip 75146 City" ~ . Dallas AtPatlent . 23.3 T;00
Country us County - Dallas Care Transferred
Medic Unit M353 State Tx Depart Scene 23.50:58
Madic Vehicle M353 Zip | 15237 At Destination . 00:08:21
Run Type | 91 E Response Country Us Pt. Transferred 00:15:00
Response Mode Emergent Zone Call Closed 00:29:50
Shift A shift Condition at Destination | Unchanged tn District
Zone Baas City Destination Record W# At Landing Area
Level of Service Basic Life Support Trauma Registry ID
EMD Complaint Traumatic Injury STEMI Registry (D |
EMD Card Number Stroke Registry ID
Dispatch Priority _
RA IES Pen ee ean EA URS me Prresorcter SE Mea
Personnel : , “| Certification Level
BURTON, DANNY NREMT-Paramedic (NREMT-P! - P8054608; EMT-Paramedic « 706859
(NGRAM, TYLER EMY-Paramedic - 731506
| EMT Rider, Student
sina aan eee Rate La * i : Se ey
Scene 1,0 Category Delays
Destination 10.7 Dispatch Delays None/No Delay
Loaded Miles = | 9.7 | geo-verified Response Delays None/No Delay
Start Scene Delays None/No Delay
End. Transport Delays None/No Delay
Total Miles Turn Around Delays None/No Delay J

Fear ea ae on eerie ite uke Serna er nee eer rg Suey
How was Patent Moved to Ambulance Assisted/Walk How was Patient “| Assisted/Walk
| Patient Position During Transport Condition of Patient at Destination Unchanged ]
Page 2 of 2 03/24/2019 CO39-16

Template Version: PCR-WEE 1.3.2
Data Version: 00J41 00000000021 76C4F

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Report Letter/Jimerson-Parks case
8 March 2021
page - 22 of 22

EXHIBIT “H”

EXHIBIT H: (VITA OF ROBERT K. “BOB” GILL ~ (totaling 3 pages)

Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 64o0f66 PagelD 1617

ROBERT K. “BOB” GILL

Attorney at Law
Retired State District Judge
2502 Gravel Drive
Fort Worth, TX 76118
Bob@GillBrissette.com
817-803-6918

PROFESSIONAL ACTIVITIES

Assistant Criminal District Attorney-- Tarrant County 1981-92 and 2008-2014

Private Criminal Defense Practice Since January 2015

Presiding Judge, 213" Criminal District Court-- Jan. 1993-May 2007

Presiding Judge over Tarrant County Criminal Courts --1997

Local Administrative Judge-- Tarrant County 1997-98 and 2003-4

Board Certified in Criminal Law since 1988

Approved for Death Penalty Cases in 8" Admin. Judicial Region

Co-owner Third Chair Digital Forensics LLC and Third Chair Technologies LLC — Fort Worth,
Co-owner Third Chair Investigations LLC, Texas License Number C20849

Board Member, Texas Criminal Defense Lawyers Association (2020-2023)

PROFESSIONAL MEMBERSHIPS

State Bar of Texas, Member, 1981 - Present

Tarrant County Bar Association, Member

Texas Bar Foundation, Life Fellow, 2013 — Present

Texas Criminal Defense Lawyers Association, Member

Tarrant County Criminal Defense Lawyers Association, Member
Texas District and County Attorneys Association, Former Member

SPEAKING ENGAGEMENTS

Tarrant County Bar Association, Pre-Trial Motions (2018)

Southwestern Association of Forensic Scientists Digital Forensics (2017)

Tarrant County Medical Examiner’s Office, Current Trends in Forensic Science (2015)
Tarrant County Criminal Defense Lawyers Association, Capital Seminar (2015-2017)
Tarrant County Medical Examiner’s Office Grand Rounds, Digital Forensics (April 2015)
Tarrant County Criminal Defense Lawyers Association, Digital Forensics (March 2015)
Tarrant County Young Lawyers When Lawyers Run For Office: Ethical Considerations of
Political Campaigns (2013)

Ww 'W.GILLBRISSETTE.COM

Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 65o0f66 PagelD 1618

The Center For American And International Law Capital and Non-Capital Training For The
Prosecution (2013)

The Center For American And International Law Emerging Trends in Capital Trial Prosecution
(2012)

Louisiana District Attorneys Association, Electronic Discovery (2012)

State Bar of Texas Advanced Criminal Law Course (2011)

Law Enforcement and Emergency Services Video Association Video Evidence Symposium and
Training Conference (2011)

The Center For American And International Law Actual Innocence: Establishing Innocence or
Guilt (2010)

Course Director—State Bar of Texas Advanced Criminal Law Course, Death Penalty Workshop
(2010)

Texas Criminal Defense Lawyers Association, Sexual Assault Conference (2010)

Texas District and County Attorneys Association, Annual Criminal and Civil Law Update (2010)
State Bar of Texas, Advanced Criminal Law Course (2010)

Tarrant County Bar Association, Ethical Practice of Criminal Law in Tarrant County (2010)
Course Director—State Bar of Texas, Advanced Criminal Law Course, Death Penalty Workshop
(2009)

Tarrant County Bar Association, Trial by Movie (2009)

Texas Center for the Judiciary, Capital Murder Seminar (2008)

Texas Center for the Judiciary, College For New Judges (2006)

National Judicial College, Managing the Capital Case in Texas (2006)

Texas Center for the Judiciary, Criminal Justice Conference (2006)

Texas Wesleyan University School of Law, Death Penalty Law (2005)

Texas Criminal Defense Lawyers Association, Rusty Duncan Criminal Law Seminar (2000)
Texas Criminal Defense Lawyers Association, Attacking Forensic Evidence and Child Abuse
Seminar (2001)

Tarrant County Medical Examiner’s Office, Current Trends in Forensic Science (2001)
Criminal Justice Advocacy Institute, Jury Selection (1995)

Leadership Colleyville, The Tarrant County Justice System (1995)

Texas Municipal Courts Training Center, Felony Court Jurisdiction (1993)

State Bar of Texas, Sex Drugs and DNA: Use and Abuse of Scientific Evidence (1991)

Juvenile Justice Seminar, Gangs Update (1991)

State Bar of Texas, Advanced Criminal Law Course (1990)

State of Oklahoma District Attorneys Council, DNA Fingerprinting (1990)

State Bar of Texas, Practice Skills Course (1989)

Texas District and County Attorneys Association, Prosecutor Trial Skills Course (1988-92)

LAW-RELATED PUBLICATIONS

Texas Criminal Lawyers Handbook — James Publishing (Updated annually)

Texas Criminal Forms — James Publishing (Updated annually)

Interview Rooms: Design for Safety and Utility—The Police Chief, The Professional Voice of
Law Enforcement, November 2013, International Association of Chiefs of Police

DNA Testing Handbook For Prosecutors — Texas District and County Attorneys Association —
1990
Case 3:20-cv-02826-L-BH Document 150-1 Filed 03/08/21 Page 66 of 66 PagelD 1619

Preparing A Case For Trial—Texas Prosecutor’s DWI Trial Manual (1989)

